
Fitzsimons, J.
The defendant in July, 1890, owned 111 Hester street, this city. Her brother, John Gf. Lyons, was her general agent, and whatever he agreed to do concerning said property bound her and she was willing to abide thereby.
On July 31. .1891, she wrote him authorizing him to sell said premises for $19,500, provided he received compensation from the buyer for his services.
The plaintiff, a real estate broker, about the time above mentioned, had several interviews with defendant’s said brother concerning the sale of said house, which was offered for sale for $20,000 to him as a broker.
He, plaintiff, found a buyer ready, able and willing to purchase said premises for $19,900 cash, which offer was finally accepted by defendant’s said brother, who signed the contract of sale for his sister, and finally the deed to said premises was executed and delivered by defendant, through her brother,, to the persons procured by plaintiff as purchasers.
The defendant refused to pay the usual commission of one per cent, hence this suit for $199. Judgment was rendered by the referee in plaintiff’s favor.
The defendant’s brother acted, throughout all his dealings with plaintiff, as her agent, and as he was her general agent, and as all things which he done concerning said premises was satisfactory to and approved by her, therefore, his acceptance of the offer of $19,900 for the sale of said premises was valid, which offer and final sale was procured and induced by and through the agency of plaintiff.
The plaintiff earned his commission and was entitled thereto. Therefore, the judgment in his favor was rightful, and must be affirmed.
The appellant’s objection that the referee’s report fails to direct judgment, as required by § 1022 of the Code of Civil Procedure, is without merit
From the referee’s report it is- very evident what are the terms of the judgment to which the plaintiff herein is entitled, that being so, the referee has complied with § 1022, and his report is sufficient. Hinds v. Kellogg, 37 St. Rep., 356.
Judgment affirmed, with costs.
McGown and Van Wyck, JJ., concur.
